Case 2:02-Cr-20448-BBD Document 464 Filed 08/12/05 Page 1 of 3 Page|D 312

Ftt.ED sr o_c_
IN THE UNITED STATES DISTRICT COURT
FoR THE WESTERN DISTRICT oF TENNESSEE 05 AUG '2 P'" 3’ ltv

 

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UNITED STATES OF AMERICA,
Plaintiff, Case No.: 02-20448 D P
V.
JOHN E. MADISON, SR., and

WILLIEANN D. MADISON,

Defendants.

 

ORDER

 

Before the Court is the joint motion of Defendants WillieArm Madison and John E. Madison
for Pennission to Sell Property and to Set Aside Funds for Future Payment. (Docket #389). Upon
review of the motion and response in opposition to the motion, the Court finds that cause does not
exist to grant relief. Accordingly, the motion is DENIED Without prejudice to the parties submitting

an agreed order setting forth more specific and defined procedures

IT ls 50 oRDERED this /¢2 day ofé¢ S,_.£ ,2005.

    

ERNICE B UIE DONALD
UNITED STATES DISTRICT JUDGE

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